      Case 3:19-cv-02029-K Document 14 Filed 04/16/20              Page 1 of 13 PageID 49



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


ANTHONY CAIRNS,                              )
                                             )
                      Plaintiff,             )
                                             )       CIVIL ACTION
vs.                                          )
                                             )       FILE No. 3:19-cv-02029-K
A GONZALEZ INVESTMENTS LTD.,                 )
                                             )
                      Defendant.             )

                                   AMENDED COMPLAINT

         COMES NOW, ANTHONY CAIRNS, by and through the undersigned counsel, and files

this, his Amended Complaint against Defendant, A GONZALEZ INVESTMENTS LTD.,

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

         1.    This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s A

GONZALEZ INVESTMENTS LTD., failure to remove physical barriers to access and violations

of Title III of the ADA.

                                            PARTIES

         2.    Plaintiff ANTHONY CAIRNS (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Denton County).

         3.    Plaintiff is disabled as defined by the ADA.

         4.    Plaintiff is required to traverse in a wheelchair and is substantially limited in


                                                 1
   Case 3:19-cv-02029-K Document 14 Filed 04/16/20                  Page 2 of 13 PageID 50



performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant, A GONZALEZ INVESTMENTS LTD. (hereinafter “A GONZALEZ

INVESTMENTS LTD.”) is a Texas limited company that transacts business in the State of

Texas and within this judicial district.

       8.      Defendant, A GONZALEZ INVESTMENTS LTD., may be properly served with

process via service, to wit: Albert Gonzalez, 7010 Chipperton Drive, Dallas, TX 75225-1705.

                                   FACTUAL ALLEGATIONS

       9.      On or about July 15, 2019, Plaintiff was a customer at “Magic Time Machine,” a

business located at 5003 Beltline Road, Dallas, TX 75254, referenced herein as “Magic Time

Machine”. Plaintiff also seeks to be a customer of the Hooters restaurant, also located on the

Property.

       10.     Plaintiff lives 6 miles away from the Property.

       11.     A GONZALEZ INVESTMENTS LTD. is the owner or co-owner of the real



                                                 2
   Case 3:19-cv-02029-K Document 14 Filed 04/16/20                 Page 3 of 13 PageID 51



property and improvements that Magic Time Machine is situated upon and that is the subject of

this action, referenced herein as the “Property.”

         12.   Plaintiff’s access to the business(es) located at 5003 Beltline Road, Dallas, TX

75254,    Dallas,   TX      75254,    Dallas   County   Property    Appraiser’s   parcel   number

10000909624900000 (“the Property”), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or limited in the

future unless and until Defendant, A GONZALEZ INVESTMENTS LTD., is compelled to

remove the physical barriers to access and correct the ADA violations that exist at the Property,

including those set forth in this Amended Complaint.

         13.   The Property has two separate buildings situated on it. On the eastern side of the

Property, there is a Hooters restaurant. In the middle of the Property is The Magic Time

Machine Restaurant. There is a common parking lot shared by these two buildings. As such, the

two buildings are located on the same site.

         14.   Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Amended Complaint are removed and the Property are accessible again.

The purpose of the revisit is to be a return customer, to determine if and when the Property are

made accessible and to maintain standing for this lawsuit for Advocacy Purposes.

         15.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living only 6 miles from the Property as well as for Advocacy Purposes, but

does not intend to re-expose himself to the ongoing barriers to access and engage in a futile

gesture of visiting the public accommodation known to Plaintiff to have numerous and



                                                    3
   Case 3:19-cv-02029-K Document 14 Filed 04/16/20                   Page 4 of 13 PageID 52



continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this Amended

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.


                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in


                                                  4
   Case 3:19-cv-02029-K Document 14 Filed 04/16/20                Page 5 of 13 PageID 53



               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation as it contains at least two service

establishments on its premises.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).


                                                5
   Case 3:19-cv-02029-K Document 14 Filed 04/16/20                Page 6 of 13 PageID 54



       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer of the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Amended Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Amended Complaint.

       28.     Defendant, A GONZALEZ INVESTMENTS LTD., have discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal enjoyment of

the goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, A GONZALEZ INVESTMENTS LTD., will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, A GONZALEZ



                                                6
      Case 3:19-cv-02029-K Document 14 Filed 04/16/20                Page 7 of 13 PageID 55



INVESTMENTS LTD., is compelled to remove all physical barriers that exist at the Property,

including those specifically set forth herein, and make the Property accessible to and usable by

Plaintiff and other persons with disabilities.

         30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced, observed and/or was made aware of that precluded and/or

limited Plaintiff’s access to the Property and the full and equal enjoyment of the goods, services,

facilities, privileges, advantages and accommodations of the Property include, but are not limited

to:

ACCESSIBLE ELEMENTS:

         (i)     In front of The Time Machine restaurant, there are two accessible parking spaces

                 that are not located on the shortest distance to the accessible route leading to the

                 accessible entrances in violation of Section 208.3.1 of the 2010 ADAAG

                 Standards. This violation made it difficult for Plaintiff to access the units on the

                 Property as it would require the Plaintiff to traverse into the vehicular way to

                 access the closest ramp.

         (ii)    For the accessible parking spaces located in front of The Time Machine

                 Restaurant, there is one access aisle that has excessive vertical rises exceeding ¼

                 inch in height and is in violation of Section 303.2 and 502.4 of the 2010 ADAAG

                 standards. This violation made it dangerous and difficult for Plaintiff to exit and

                 enter their vehicle while parked at the Property.

         (iii)   For the accessible parking spaces located in front of The Time Machine

                 Restaurant, the ground surfaces of the accessible parking spaces and one access

                 aisle have vertical rises in excess of ¼ (one quarter) inch in height, are not stable



                                                   7
Case 3:19-cv-02029-K Document 14 Filed 04/16/20                  Page 8 of 13 PageID 56



            or slip resistant, have broken or unstable surfaces or otherwise fail to comply with

            Sections 302 and 303 of the 2010 ADAAG standards. This violation made it

            dangerous and difficult for Plaintiff to access the units of the Property.

   (iv)     One accessible parking spaces in front of the Time Machine Restaurant is missing

            a proper identification sign in violation of Section 502.6 of the 2010 ADAAG

            standards. This violation made it difficult for Plaintiff to locate an accessible

            parking space.

   (v)      The middle of three accessible parking spaces located in front of the Time

            Machine Restaurant does not have a properly marked access aisle in violation of

            Section 502.3.3 of the 2010 ADAAG standards. This violation made it dangerous

            and difficult for Plaintiff to park his accessible van and access the accessible

            entrances of the Property.

   (vi)     There is an access aisle to the accessible parking space in front of the Time

            Machine Restaurant that is not level due to the presence of an accessible ramp in

            the access aisle in violation of Section 502.4 of the 2010 ADAAG standards. This

            violation made it dangerous and difficult for Plaintiff to exit and enter their

            vehicle while parked at the Property.

   (vii)    The accessible curb ramp is improperly protruding into the access aisle of the

            accessible parking space in front of the Time Machine Restaurant in violation of

            Section 406.5 of the 2010 ADAAG Standards. This violation made it difficult

            and dangerous for Plaintiff to exit/enter their vehicle.

   (viii)   The accessible ramp servicing the three accessible parking spaces in front of the

            Time Machine restaurant and the accessible ramp servicing one of the accessible



                                              8
Case 3:19-cv-02029-K Document 14 Filed 04/16/20                  Page 9 of 13 PageID 57



           parking spaces in front of Hooters both lack finished edges or edge protection

           and/or are otherwise in violation of Section 405.9 of the 2010 ADAAG standards.

           This violation made it difficult for Plaintiff to access the units of the Property.

   (ix)    For the three accessible parking spaces in front of the Time Machine Restaurant,

           due to the east-west orientation of the entrance to the accessible ramp, when a

           vehicle is parked in the accessible parking space, the vehicle will block the 36

           inch minimum clear landing of the accessible ramp, effectively blocking access to

           the ramp. As a result, the Property lacks an accessible route from the three

           accessible parking spaces in front of the Time Machine Restaurant to the

           accessible entrances of the Property in violation of Section 206.2.1 of the 2010

           ADAAG standards. This violation made it difficult for Plaintiff to access the units

           of the Property.

   (x)     The Property lacks an accessible route from the sidewalk to the accessible

           entrances for both the Time Machine Restaurant and Hooters in violation of

           Section 206.2.1 of the 2010 ADAAG standards. This violation made it difficult

           for Plaintiff to access the units of the Property.

   (xi)    There is one accessible parking space located in front of Hooters that has an

           accessible ramp protruding into the access aisle in violation of section 502.4 of

           the 2010 ADAAG Standards. This violation made it dangerous and difficult for

           Plaintiff to exit and enter their vehicle while parked at the Property.

   (xii)   The accessible curb ramp is improperly protruding into the access aisle of the

           accessible parking space in front of Hooters in violation of Section 406.5 of the




                                              9
  Case 3:19-cv-02029-K Document 14 Filed 04/16/20                   Page 10 of 13 PageID 58



                2010 ADAAG Standards. This violation made it difficult and dangerous for

                Plaintiff to exit/enter their vehicle.

       (xiii)   There is an insufficient number of accessible parking spaces at the Property.

                Based on a count of the total number of parking spaces, there should be seven

                accessible parking spaces total, with two of the accessible parking spaces being

                van accessible parking spaces. However, there are only six accessible parking

                spaces at the Property in violation of section 208.2 of the 2010 ADAAG

                Standards.

       (xiv)    There are two buildings on the Property, both are public accommodations and

                considered on the same site, yet there is not a single accessible route connecting

                the two buildings, this is a violation of section 206.2.2 of the 2010 ADAAG

                Standards.

       (xv)     Defendant fails to adhere to a policy, practice and procedure to ensure that all

                facilities are readily accessible to and usable by disabled individuals.

       31.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.      Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.      The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.      All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.



                                                   10
  Case 3:19-cv-02029-K Document 14 Filed 04/16/20                      Page 11 of 13 PageID 59



        35.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

        36.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, A

GONZALEZ INVESTMENTS LTD., has the financial resources to make the necessary

modifications.

        37.      Upon information and good faith belief, the Property have been altered since

2010.

        38.      In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

        39.      Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

A GONZALEZ INVESTMENTS LTD., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

        40.      Plaintiff’s requested relief serves the public interest.

        41.      The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, A GONZALEZ INVESTMENTS LTD.

        42.      Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, A GONZALEZ INVESTMENTS LTD., pursuant to 42 U.S.C. §§

12188 and 12205.

        43.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant



                                                   11
  Case 3:19-cv-02029-K Document 14 Filed 04/16/20               Page 12 of 13 PageID 60



injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, A

GONZALEZ INVESTMENTS LTD., to modify the Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant, A GONZALEZ INVESTMENTS LTD., in

             violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant, A GONZALEZ

             INVESTMENTS LTD., from continuing their discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant, A GONZALEZ

             INVESTMENTS LTD., to (i) remove the physical barriers to access and (ii) alter

             the subject Property to make it readily accessible to and useable by individuals

             with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

             and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

                                           Dated: April 16, 2020.

                                           Respectfully submitted,

                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

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                                              12
Case 3:19-cv-02029-K Document 14 Filed 04/16/20    Page 13 of 13 PageID 61




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                                   13
